Case 1:03-md-01570-GBD-SN Document 9461-3 Filed 12/08/23 Page 1 of 6




           Exhibit B
Case 1:03-md-01570-GBD-SN Document 9461-3 Filed 12/08/23 Page 2 of 6
Case 1:03-md-01570-GBD-SN Document 9461-3 Filed 12/08/23 Page 3 of 6
Case 1:03-md-01570-GBD-SN Document 9461-3 Filed 12/08/23 Page 4 of 6
Case 1:03-md-01570-GBD-SN Document 9461-3 Filed 12/08/23 Page 5 of 6
Case 1:03-md-01570-GBD-SN Document 9461-3 Filed 12/08/23 Page 6 of 6
